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17                                    UNITED STATES DISTRICT COURT

18                                 NORTHERN DISTRICT OF CALIFORNIA

19                                           SAN JOSE DIVISION

20   APPLE INC., a California corporation,              Case No.   5:22-cv-02637-EJD
21                             Plaintiff,               NOTICE OF WITHDRAWAL OF
                                                        DIEK O. VAN NORT AS COUNSEL
22          v.                                          OF RECORD FOR APPLE INC.
23   RIVOS, INC., a Delaware corporation; WEN           Courtroom: 4
     SHIH-CHIEH a/k/a RICKY WEN; BHASI                  Judge: Hon. Edward J. Davila
24   KAITHAMANA; JIM HARDAGE;
     WEIDONG YE; LAURENT PINOT;                         Date Action Filed: April 29, 2022
25   PRABHU RAJAMANI; and KAI WANG,
26                             Defendants.
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     NOTICE OF WITHDRAWAL OF DIEK O. VAN NORT
     CASE NO. 5:22-CV-2637-EJD
     SF-5322651
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 1          TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE that Diek O. Van Nort, formerly of Morrison & Foerster LLP,

 3   hereby withdraws as counsel of record for Plaintiff Apple Inc. Accordingly, it is hereby

 4   requested that Mr. Van Nort’s name be removed from the case docket and from the court’s e-

 5   notification system in this matter. All other counsel of record from Morrison & Foerster LLP will

 6   continue to represent Apple Inc. in this matter. As such, the withdrawal of Mr. Van Nort will

 7   cause no prejudice to any party.

 8    Dated:    January 24, 2023                      MORRISON & FOERSTER LLP
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10                                                    By:    /s/ Diek O. Van Nort
                                                            Diek O. Van Nort
11
                                                      Attorney for Plaintiff
12                                                    APPLE INC.

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     NOTICE OF WITHDRAWAL OF DIEK O. VAN NORT
     CASE NO. 5:22-CV-2637-EJD                                                                       1
     SF-5322651
